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13                             UNITED STATES DISTRICT COURT
14                 NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
15 CALIFORNIA COALITION FOR WOMEN                          Case No. 4:23-cv-04155
   PRISONERS; R.B.; A.H.R.; S.L.; J.L.; J.M.;
16 G.M.; A.S.; and L.T., individuals on behalf of          DECLARATION OF S        E.
   themselves and all others similarly situated,           L       IN SUPPORT OF
17               Plaintiffs,
                                                           PLAINTIFFS’ MOTIONS FOR
                                                           PRELIMINARY INJUNCTION
18        v.                                               AND PROVISIONAL CLASS
                                                           CERTIFICATION
19 UNITED    STATES OF AMERICA FEDERAL
   BUREAU OF PRISONS, a governmental entity;
20 BUREAU     OF PRISONS DIRECTOR COLETTE
   PETERS, in her official capacity; FCI DUBLIN
21 WARDEN      THAHESHA JUSINO, in her official
   capacity; OFFICER BELLHOUSE, in his
22 individual capacity; OFFICER GACAD, in his
   individual capacity; OFFICER JONES, in his
23 individual capacity; LIEUTENANT JONES, in
   her individual capacity; OFFICER LEWIS, in his
24 individual capacity; OFFICER NUNLEY, in his
   individual capacity, OFFICER POOL, in his
25 individual capacity, LIEUTENANT PUTNAM, in
   his individual capacity; OFFICER SERRANO, in
26 his individual capacity; OFFICER SHIRLEY, in
   his individual capacity; OFFICER SMITH, in his
27 individual capacity; and OFFICER VASQUEZ, in
   her individual capacity,
28               Defendants.
     [4257143 5]
       DECLARATION OF S         E. L      IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR PRELIMINARY
                          INJUNCTION AND PROVISIONAL CLASS CERTIFICATION
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 1                 I, S     E. L       , declare:
 2                 1.     I have personal knowledge of the facts set forth herein, and if called as a
 3 witness, I would competently so testify. I make this declaration in support Plaintiffs’
 4 Motions for Preliminary Injunction and Provisional Class Certification.
 5                 2.     I have been incarcerated at FCI Dublin for the past seven years, since
 6 March 2016. In the future BOP may transfer me to other BOP facilities, but at any point I
 7 could be transferred back to FCI Dublin.
 8                 3.     FCI Dublin’s inadequate systems for preventing, detecting, and responding
 9 to sexual abuse have caused actual harm to myself and others incarcerated at FCI Dublin
10 and put myself and other incarcerated persons at substantial risk of imminent serious harm
11 from sexual assault, harassment, and retaliation from staff.
12                 4.     In March 2022, Officer Gacad began sexually harassing me. He worked on
13 the yard and in my unit. At first, he would “dedicate” songs to me that he was playing on
14 the computer. Then, he began writing me notes, telling me “I can’t stay away from you,
15 you’re so beautiful.” He wrote, “Back in September 2021, since I first laid eyes on you, I
16 knew you were going to be my future wife.” He would throw the notes into my cell during
17 count. It is not clear to me how this was not caught on camera. He also put his name on
18 my mail list and messaged me on CorrLinks using a pseudonym. He was bold. Initially, I
19 was flattered by these notes and his expressions of romantic feelings. He told me that he
20 was single, and that he was in love with me. He gave me a necklace, watch, and earrings
21 as gifts.
22                 5.     After a few weeks, this harassment turned into a physical sexual relationship.
23 In the first incident, around March or April 2022, he grabbed me while I was cleaning the
24 AC unit in the yard office at approximately 8:30 AM while working for CMS. I remember
25 the time because that is when we go out on work passes. He grabbed my butt and we made
26 out. In the second incident, we were doing a trash run by the rear gate, and he kissed me
27 and groped my body. After that, he would kiss me and grope me every weekend during the
28 trash runs.
     [4257143 5]                                          1
       DECLARATION OF S               E. L      IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR PRELIMINARY
                                INJUNCTION AND PROVISIONAL CLASS CERTIFICATION
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 1                 6.       In May 2022, he was working in my housing unit, F-Unit, at night. He
 2 showed up to my room, and stood in the doorway, and then he came in and kissed me and
 3 touched my genitals. I was naked because I had just got out of the shower. It lasted for a
 4 couple minutes and then he left because there were people out on the unit.
 5                 7.       Later in May, he kissed me while he was working at the officer’s station in
 6 my unit. He worked the graveyard shift and during the night he had told me to come down
 7 before he left in the morning. I woke up early the next morning and went to the officer’s
 8 station where he kissed me.
 9                 8.       Around the first week of June 2022, I was called into Lt. Putnam’s office.
10 He had heard allegations from another inmate about my relationship with Officer Gacad. I
11 do not know where he heard this. I did not trust Lt. Putnam, and I did not feel comfortable
12 telling him anything about our relationship. The same day, Officer Gacad was called in
13 and questioned about our relationship, and he quit.
14                 9.       In the beginning of July, I had a video visit with my mom, who lives in
15                      Arizona. To my surprise, Officer Gacad was at my parents’ home, wearing a
16 mask. My mom explained to me that my “friend with tattoos” showed up at her door, told
17 them that he loved me, and they let him stay with them for a week or two until he got a
18 place of his own. Former Officer Gacad now works with my mom at the VA hospital in
19
20                 10.      The last week in July 2022, I was sent to the SHU “for my own safety” after
21 I refused to speak with an OIG agent about our relationship. It was awful. All of my
22 property was taken and never given back. SIS still has my property, including evidence of
23 my relationship with Officer Gacad.
24                 11.      After I was released from the SHU in August, I continued to correspond with
25 Officer Gacad over the phone and on CorrLinks until September. Two female officers,
26 Officer Vazquez and Officer Serrano, told my friend about the messages that I was
27 exchanging with Officer Gacad and even let him listen to our messages as an attempt to
28 interfere with our relationship.
     [4257143 5]                                           2
       DECLARATION OF S                 E. L      IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR PRELIMINARY
                                  INJUNCTION AND PROVISIONAL CLASS CERTIFICATION
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 1                 12.     In November 2022, my friend reported my relationship with Officer Gacad
 2 to SIS. Lt. Putnam said he couldn’t handle the allegations – that it was too much for him.
 3                 13.     Since that time, I’ve had a mental breakdown. I feel tired and scared and
 4 alone. I repeatedly requested services from TriValley care, but it took several months for
 5 me to see anyone. I eventually was able to see people from TriValley care twice but it was
 6 not helpful. I did not feel comfortable; they are nice, but they send a different person each
 7 time and I have to repeat my story over and over to different people. They also told me I
 8 could only have five sessions and after that I would have to speak to BOP mental health
 9 staff. I am not comfortable speaking with BOP mental health staff because they share
10 everything you tell them with other staff at the facility. There also aren’t enough mental
11 health staff to get an appointment. I need regular access to actual qualified outside mental
12 health professionals to deal with this trauma.
13                 14.     In September, I removed Officer Gacad from my CorrLinks. I asked him to
14 stay away from me and my family. As recently as Valentine’s Day 2023, I saw his dog at
15 my parents’ house while on a video call. After that my son told me he met my “friend” at
16 my mother’s house for Mother’s Day and it was Officer Gacad. At this point, I don’t want
17 to go home to                    because I’m scared of him. I’m terrified that BOP will transfer me
18 to                    camp because my relocation address is in           At the same time, I do not
19 feel safe at FCI Dublin.
20                 15.     When I arrived at FCI Dublin in 2016 I was not given any training about
21 PREA. In 2018, when I first heard about PREA it was through a training video, and they
22 made it seem like they were mainly concerned about “inmate on inmate” sexual abuse.
23 They never talked about sexual assault by staff.
24                 16.     Staff at FCI Dublin have never worn body-worn cameras in the facility and
25 despite ongoing sexual abuse and assault at the facility staff still do not use body-worn
26 cameras. There are some cameras installed in fixed locations in the facility, but it is well
27 known that there are no cameras in the yard office and I have been in there myself and saw
28 there were no cameras there. The cameras that are installed are enclosed in dark colored
     [4257143 5]                                          3
       DECLARATION OF S                E. L      IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR PRELIMINARY
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 1 glass and it is impossible to tell where they are pointing or whether they are working.
 2                 17.   There is no effective way to confidentially report sexual assault and abuse by
 3 staff at FCI Dublin. Staff do not keep reports confidential. After I reported Officer Gacad,
 4 Officer Serrano blamed me for getting her boyfriend (another officer) walked off. She
 5 harassed me and called me a bitch. It’s also extremely difficult to use the administrative
 6 remedy process. When we ask for the grievance forms, the staff never give them to us.
 7 They say we have to ask the unit team, but there is no one to help us and staff do not
 8 always seem to know what the difference between forms or what the right ones are.
 9                 18.   Staff at FCI Dublin prevent people from reporting staff sexual assault and
10 abuse and retaliate against people who do report. In addition to being put in the SHU,
11 since our correspondence was reported, Lt. Jones has threatened me and regularly
12 embarrassed me in front of the entire unit. She has since been walked off for sexual
13 misconduct allegations. Officer Serrano pulls our mail out of the mailbox and reads it to
14 others to show they know what we are saying. The same officers monitoring our calls are
15 spreading gossip about us. Officers Serrano and Vazquez tell people “don’t speak to
16 L               ,” which makes me feel targeted for more mistreatment. Officer Vazquez was also
17 recently walked off for sexual misconduct.
18                 19.   Most recently, on Thursday August 10th, another officer that I worked with
19 for a long time, Officer Souza, was walked off for sexual misconduct with an incarcerated
20 woman. I had nothing to do with Officer Souza getting walked off. But because what
21 happened to me with Officer Gacad is now well known in the prison, and because I am in
22 touch with outside attorneys, staff and incarcerated people are spreading rumors that I am
23 the one who reported Officer Souza, and are targeting and harassing me as a result. An
24 officer I work with even told my coworker: “I don’t want L                in here anymore,” and I
25 am afraid that I will lose my job, which is one of the only things keeping me sane.
26                 20.   When incarcerated persons report sexual assault and abuse by staff, FCI
27 Dublin and BOP do not seriously investigate the reports. Investigations are frequently
28 delayed and overseen by staff who know and work with the offending staff member.
     [4257143 5]                                        4
       DECLARATION OF S              E. L      IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR PRELIMINARY
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 1 Generally nothing happens as a result.
 2                 21.   There is little to no medical care available to survivors of sexual abuse and
 3 assault at FCI Dublin. I sliced my finger in May and did not get stitches until the next day.
 4 I now have permanent nerve damage. There is no confidential medical care available
 5 either. I am afraid to go to medical for a serious gynecological problem with my menstrual
 6 cycle because I fear that the officers who escort me will spread rumors about me.
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     [4257143 5]                                         5
       DECLARATION OF S              E. L      IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR PRELIMINARY
                               INJUNCTION AND PROVISIONAL CLASS CERTIFICATION
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